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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SBG MANAGEMENT SERVICES, INC.,       :             CIVIL ACTION
et al.                               :
                                     :
          v.                         :
                                     :
CITY OF PHILADELPHIA                 :             NO. 17-4102

                                  ORDER

          AND NOW, this 22nd day of August, 2018, for the reasons

set forth in the accompanying memorandum, it is hereby ORDERED that

the motion of defendant City of Philadelphia for judgement on the

pleadings (incorrectly denominated as a motion for summary

judgment) (Doc. # 16) against plaintiffs SBG Management Services,

Inc., Elrae Garden Realty Co., LP, Fairmount Garden Realty, Co.,

LP, Fern Rock Garden Realty Co., LP, Marchwood Garden Realty Co.,

LP, Marshall Square Realty Co., LP, Oak Lane Garden Realty Co., LP,

and Simon Garden Realty Co., LP is GRANTED in part as follows:

          1) Judgment is entered as a matter of law pursuant to

Rule 12(c) of the Federal Rules of Civil Procedure in favor of

defendant and against plaintiffs on plaintiffs’ claim under 42

U.S.C. § 1983 that the defendant’s method for imposing liens on

their properties for unpaid gas bills violates the Due Process

Clause of the Fourteenth Amendment of the United States

Constitution.
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          2) Pursuant to 28 U.S.C. § 1367(c)(3), plaintiffs’

remaining claims alleging violations of Pennsylvania state law are

DISMISSED without prejudice to their right to file the claims in

the appropriate forum.

          3) Pursuant to 28 U.S.C. § 1367(c)(3), defendant’s

counterclaims alleging violations of Pennsylvania state law are

DISMISSED without prejudice to its right to file the claims in the

appropriate forum.


                                         BY THE COURT:



                                         /s/ Harvey Bartle III
                                                                      J.




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